Case 2:02-cr-20251-SH|\/| Document 236 Filed 06/07/05 Page 1 of 3 Page|D 245

IN THE UNITED sTATES DIsTRICT coURT F'-EDWL-M-'M

FOR THE WESTERN DISTRIC'I‘ OF TENNESSEE

 

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Hobe:t R. Di Tro%io
UNITED sTATEs oF AMERICA, CLEF{KU.S` DIST, CT_
W‘D. Or': TN. MEMPHIS
vS_ No. 02-20251~Ma

FARID AMIR a/k/a LEON NEELY,

Defendant.

 

ORDER ALLOWING REMOVAL OF EXHIBITS FOR COPYING

 

Pursuant to the oral motion of Kemper B. Durand, counsel for
the defendant Farid Amir, Mr. Durand may remove the color
photographs which Were entered as exhibits in the trial of this
matter on March l, 2004, for the purpose of obtaining color
copies of the photographs for the appellate record. The exhibits
Will be returned to the office of the Clerk of Court When the
copies have been obtained.

It is so ORDERED this ’?*¢\day of June, 2005.

SAMUEL H. MAYS, JR.
UNI'I‘ED STATES DISTRICT JUDGE

 

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UN]TED STATES DlSTR]CT COURT

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DEFENDANT

This is to acknowledge that k§_D/[/M/D@J/ DLMO/
of FrbLI/\

has recei\g:i the exhibits in the above case, or has the foll iyng

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Robert R. Di Trolio

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This notice confirms a copy of the document docketed as number 236 in
case 2:02-CR-20251 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

